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 4
     Attorney for: RONNIE JAMES WILLIAM, Jr.
 5

 6                           IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                            )    No. CR-07-0483 LKK
                                                          )
10                          Plaintiff,                    )
                                                          )    STIPULATION AND ORDER
11             vs.                                        )    CONTINUING JUDGEMENT
                                                          )    AND SENTENCING HEARING
12                                                        )
     RONNIE JAMES WILLIAM, Jr.,                           )
13                                                        )
                            Defendant.                    )
14                                                        )
15             Defendant, RONNIE JAMES WILLIAM, Jr., through his attorney, PETER
16   KMETO, and the United States of America, through its counsel of record,
17   RUSSELL L. CARLBERG, stipulate and agree to the following with the concurrence
18   of USPO, BRENDA BARRON-HARRELL, USPO :
19             1. The presently scheduled date of October 21, 2008 for Judgement and
20             Sentencing shall be vacated and said Hearing be rescheduled for November
21             17th , 2008 at 1:30 p.m..
22             2. In a previously filed memo to the court, the parties agreed to extend the time for
23             the US Probation Officer to prepare a Pre-Sentence Report, said agreement now

24             requires the resetting of Judgement and Sentencing.

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 1   IT IS SO STIPULATED.
 2   Dated:    October 7, 2008                    /s/ RUSSELL L. CARLBERG
                                                 Assistant U.S. Attorney
 3                                               for the Government
 4

 5
     Dated:    October 7, 2008                    /s/ PETER KMETO
 6                                               Attorney for Defendant
                                                 RONNIE JAMES WILLIAM, Jr.
 7

 8
     I CONCUR.
 9
     Date:    October 7, 2008                    /s/ BRENDA BARRON-HARRELL
10                                               US PROBATION OFFICER
11
                                         ORDER
12
                  UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
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     ordered that the hearing for JUDGEMENT AND SENTENCE be continued to
14
     November 17, 2008 at 1:30 p.m.
15

16
     DATED: October 8, 2008
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